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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA

                 -v-                                                 No. 11-cr-235 (RJS)
                                                                          ORDER
 ALFONSO VELLON,

                                Defendant.


RICHARD J. SULLIVAN, Circuit Judge:

         As stated during the October 9, 2020 conference, the Court scheduled a remote proceeding

on Supervisee Alfonso Vellon’s specified violations of supervised release for October 26, 2020

at 11:00 a.m. via the CourtCall videoconference system. While that proceeding was originally

contemplated to be an evidentiary hearing, counsel for Vellon has submitted a letter indicating that

a hearing is no longer necessary as Vellon “will admit to violating his supervision at the next

conference.” (Doc. No. 57.) Accordingly, though the October 26 proceeding will continue as

currently scheduled, it will now be a conference rather than an evidentiary hearing.

         The Court will email the parties directly with instructions for accessing the CourtCall

conference. Members of the public may monitor the proceeding through CourtCall’s public access

audio line by using the following credentials:

                Dial-in:              855-268-7844
                Access code:          32091812#
                PIN:                  9921299#

SO ORDERED.

Dated:          October 21, 2020
                New York, New York

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                                              RICHARD J. SULLIVAN
                                              UNITED STATES CIRCUIT JUDGE
                                              Sitting by Designation
